Case 1:14-cv-01142-PKC-RML Document 453 Filed 09/21/22 Page 1 of 1 PageID #: 19381

                                                           Boca Raton               Melville                     San Diego
                                                           Chicago                  Nashville                    San Francisco
                                                           Manhattan                Philadelphia                 Washington, D.C.



   Vincent M. Serra
   vserra@rgrdlaw.com
                                                           September 21, 2022

                                                                                                                                         VIA ECF

  Judge Pamela K. Chen
  United States District Court for the
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

              Re:        Kurtz v. Kimberly-Clark Corp., et al., No. 1:14-cv-01142-PKC-RML;
                         Honigman v. Kimberly Clark Corp., No. 2:15-cv-02910-PKC-RML
                         Plaintiffs’ Responses to Court’s September 7, 2022 Order

  Dear Judge Chen:

          We write on behalf of plaintiffs Dr. D. Joseph Kurtz and Gladys Honigman (“Plaintiffs”) in
  response to the Court’s request that class counsel identify the number of claims submitted to the
  claims administrator by New York class members. See September 7, 2022 Minute Entry. 1 The
  Claims Administrator, Kroll Settlement Administration LLC (“Kroll”), has advised class counsel
  that 3,724 claims for 42,386 packages (representing a total value of $35,097.40) have been made for
  purchases in New York and 3,375 claims for 33,803 packages (representing a total value of
  $25,901.30) have been made by claimants with a New York address. Class counsel infers that there
  is substantial, but not complete, overlap between these groups of claimants, and the claims remain
  subject to review and approval by Kroll. Plaintiffs will further contextualize and discuss this
  information as part of the forthcoming supplemental briefing to be filed by October 10, 2022.

                                                                   Respectfully submitted,

                                                                   /s/ Vincent M. Serra
                                                                   Vincent M. Serra
                                                                   Counsel for Plaintiffs

  cc:         All Counsel of Record (via ECF)




  1
      The Court’s September 9, 2022 Order vacated the September 7, 2022 Order requiring class counsel to
  produce contemporaneous billing records, but did not vacate the Order with respect to the Court’s request for
  New York-specific claims information. See September 9, 2022 Text Order Supplementing 9/7/22 Final-
  Approval Hearing Orders.



      5 8 Sou t h Ser vi ce Roa d   Su i te 200   M elvi lle, NY 1 1 7 47   Tel 631- 3 6 7 - 7 1 0 0   F a x 631 - 3 67 - 1 1 7 3   r gr dlaw.com
